Case 3:10-cv-00474-MJR-PMF Document 283-2 Filed 04/13/12 Page 1 of 5 Page ID
                                 #10933
Case 3:10-cv-00474-MJR-PMF Document 283-2 Filed 04/13/12 Page 2 of 5 Page ID
                                 #10934
Case 3:10-cv-00474-MJR-PMF Document 283-2 Filed 04/13/12 Page 3 of 5 Page ID
                                 #10935
Case 3:10-cv-00474-MJR-PMF Document 283-2 Filed 04/13/12 Page 4 of 5 Page ID
                                 #10936
Case 3:10-cv-00474-MJR-PMF Document 283-2 Filed 04/13/12 Page 5 of 5 Page ID
                                 #10937
